Case 9:18-cr-80109-RLR Document 17 Entered on FLSD Docket 05/23/2018 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 18-8211-MATTHEWMAN


  UNITED STATES OF AMERICA,

               Plaintiff,

  vs.

  JOHN JOSEPH O’GRADY,

              Defendant.
  ____________________________

        UNOPPOSED MOTION TO AMEND CONDITONS OF RELEASE

        Defendant, John O’Grady, through undersigned counsel, requests the Court to

  amend the conditions of his release by changing his curfew from 10 p.m. to 5 a.m. to 9

  p.m. to 4 a.m. As grounds therefor, Defendant states:

        1. On May 11, 2018, the Court released Defendant on a $150,000 personal

           surety bond. A special condition of Defendant’s release is that he abide by a

           curfew from 10 p.m. to 5 a.m.

        2. Defendant is employed as a driver for A1A Airport & Limousine Service.

           Due to the aforementioned curfew, Defendant is losing many customers

           who embark on early morning flights. This loss would be negated if

           Defendant could leave his house at 4 a.m. instead of 5 a.m.

        3. Undersigned counsel has contacted Assistant United States Attorney John

           McMillan who has no objection to the above-styled motion.


                                            1
Case 9:18-cr-80109-RLR Document 17 Entered on FLSD Docket 05/23/2018 Page 2 of 3



        4. Undersigned counsel has contacted United States Probation Officer Rick

           Samson who has no objection to the above-styled motion provided

           Defendant continues with his mental health treatment and appointments.

        WHEREFORE, it is respectfully requested that the Court grant the

  above-styled motion.


                                      Respectfully submitted,

                                      MICHAEL CARUSO
                                      Federal Public Defender

                                      s/ Peter Birch
                                      Peter Birch
                                      Assistant Federal Public Defender
                                      Attorney for the Defendant
                                      Florida Bar No. 304281
                                      450 South Australian Avenue, Suite 500
                                      West Palm Beach, Florida 33401
                                      (561) 833-6288 - Telephone
                                      (561) 833-0368 - Fax
                                      Peter_Birch@FD.org




                                         2
Case 9:18-cr-80109-RLR Document 17 Entered on FLSD Docket 05/23/2018 Page 3 of 3



                              CERTIFICATE OF SERVICE


        I HEREBY certify that on May 23, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.


                                         s/ Peter Birch
                                         Peter Birch




                                           3
